Exhibit 6
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




_________________________

Bingjie Liu



Date: 6/22/2023
                          Beijing NetQin Tianxia Technology Co., Ltd
                                     Shareholder Resolution


On October 10, 2019 [handwriting], the [ ] session of the [ ] meeting of shareholders of Beijing
NetQin Tianxia Technology Co., Ltd was held in the conference room of the company, 3
[handwriting] people were present at the meeting, 3 [handwriting] people were actually present,
the meeting was convened and the voting procedure was in accordance with the relevant provisions
of the Company Law and the Articles of Association, and the meeting formed the following
resolutions:
Agreed to elect Youdi Die as the director.
Agreed to discharge Zemin Xu’s director position.


(no content below)
(no content on this page)


Individual shareholder sign by him/herself, legal entity shareholder sign and insert company’s
official seal:


Xu Zhou signature [signed]


Lingyu Guo signature [signed]


Wenyong Shi signature [signed]




10/10/2019
